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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

 BRENDA DRAKE, on behalf of herself and
                                   )
 others similarly situated,        )
                                   )
                  Plaintiff,       )
                                   )
               v.                  )                 No. 1:19-cv-01458-RLY-DML
                                   )
 MIRAND RESPONSE SYSTEMS, INC. and )
 WOODFOREST NATIONAL BANK,         )
                                   )
                  Defendants.      )


                   Order on Defendants’ Motion to Stay Case
                        Pending Administrative Action

       This matter is before the court on the defendants’ motion to stay. The court

 first describes the claims being litigated and then addresses the motion to stay.

       This case arises under the Telephone Consumer Protection Act (“TCPA”) and

 the Fair Debt Collection Practices Act (“FDCPA”). For her TCPA claim, plaintiff

 Brenda Drake alleges that defendant Mirand Response Systems, Inc. is a debt

 collector and that it, acting as an agent for creditor Woodforest National Bank and

 using an automatic telephone dialing system (as defined in the TCPA) or artificial

 or prerecorded voice, called her cell phone twice in March 2019, to collect a debt

 owed to Woodforest. Ms. Drake alleges she never had an account with Woodforest

 and that the March 2019 calls were made after her counsel had told Mirand that it

 was calling the wrong person. Ms. Drake had been assigned a new cell phone

 number in May 2018, and she believes that Mirand was trying to reach a person
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 whose name is similar to hers and found her cell phone number through some sort

 of skip-tracing method. See Complaint, ¶ 40 (alleging that “it appears” Mirand

 intended to reach a person with a similar name to Ms. Drake but unrelated and

 unknown to her) and ¶ 65 (defining putative classes as persons to whom Mirand

 placed calls using an ATDC or artificial or prerecorded voice and to a cell phone

 number “not assigned to the intended recipient” of Mirand’s calls). The FDCPA

 claim is not based on the alleged use of an ATDC or artificial or prerecorded voice;

 Ms. Drake contends the FDCPA was violated because Mirand did not identify itself

 in the messages it left on her cell phone.

       The defendants seek to stay this case pending the outcome of rulemaking by

 the Federal Communications Commission about certain aspects of the TCPA. That

 rulemaking process began in the aftermath of a March 2018 decision by the United

 States Court of Appeals for the District of Columbia, which invalidated as arbitrary

 and capricious or otherwise unlawful interpretations of certain parts of the TCPA

 the FCC had made in a July 2015 Declaratory Ruling and Order. ACA Internat’l v.

 FCC, 855 F.3d 687 (D.C. Cir. 2018). The invalidated interpretations and the current

 rulemaking proceedings concern the terms “automatic telephone dialing system”

 and “called party” in the TCPA. It is unlawful under the TCPA for a caller to make

 a call to a cell phone using “any automatic telephone dialing system or an artificial

 or prerecorded voice,” unless the call is made with the express consent of the “called

 party” or for other excepted purposes not relevant to this case. 47 U.S.C. §

 227(b)(1). “Automatic telephone dialing system” is defined as “equipment which has



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 the capacity (A) to store or produce telephone numbers to be called, using a random

 or sequential number generator; and (B) to dial such numbers.” 47 U.S.C. §

 227(a)(1).

       The defendants argue, relying principally on the doctrine of primary

 jurisdiction, that because the FCC’s rulemaking proceedings will clarify the TCPA

 and new regulations will assist the court in applying the Act (through Chevron

 deference or otherwise), the court should halt this case and await the new

 regulations. The court rejects their arguments and finds that a stay is not

 appropriate at this time, for the following reasons.

       1.      The doctrine of primary jurisdiction is applied either (a) where an

 administrative agency has exclusive jurisdiction over a particular issue in a court

 case and the court must stop its judicial work and await the agency’s resolution of

 that issue before proceeding further or (b) where a court, in its discretion, may refer

 an issue to an agency for its resolution because of the agency’s specialized

 “experience, expertise, and insight,” even though the agency does not have exclusive

 jurisdiction to resolve the issue. See Arsberry v. Illinois, 244 F.3d 558, 563-64 (7th

 Cir. 2001).

       2.      Primary jurisdiction is not applicable here. No one suggests that the

 FCC has exclusive jurisdiction to decide the meaning of the TCPA’s statutory

 language. The interpretation of statutory language is in a court’s bailiwick, and

 courts have interpreted the meaning of ATDS and “called party” for years without

 the benefit of the FCC’s guidance in the 2015 Ruling and Order that was



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 invalidated by the D.C. Circuit. See, e.g., Soppet v. Enhanced Recovery Co., 679

 F.3d 637, 639-643 (7th Cir. 2012) (interpreting “called party”); Satterfield v. Simon &

 Schuster, Inc., 569 F.3d 946, 951 (9th Cir. 2009) (construing “automatic telephone

 dialing system”). Nor is there a mechanism in place for this court to “refer” to the

 FCC an interpretive issue the court faces.

       3.     What the defendants really seek is for this court (and courts across the

 nation) to halt all TCPA cases while the FCC engages in rulemaking. That is not

 appropriate. It is not even clear that the FCC’s rulemaking would make a difference

 in deciding whether Mirand used a proscribed ATDS1 or whether Ms. Drake is a

 “called party.” At this stage, there has been no discovery about the equipment

 Mirand used in calling Ms. Drake, and thus the parties do not know the extent to

 which they disagree about whether Mirand’s equipment is an ATDS; they certainly

 are not in a position to advise the court that the FCC’s rulemaking is even directed

 to the specific features of Mirand’s equipment. Similarly, there has been no

 discovery about Mirand’s use of Ms. Drake’s cell phone number or about procedures

 Mirand does or does not follow to determine whether it has consent to make a call to

 a particular number. It is not efficient to stay this case and prevent discovery of

 basic information that would inform this court’s (and any adjudicator’s) ultimate




 1      Ms. Drake also notes that all of her TCPA claims do not depend on the use of
 an ATDS because she also alleged that Mirand used an artificial or prerecorded
 voice, but as the defendants point out, her class definitions include the requirement
 that an ATDS was used.
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 determination about whether Mirand used an ATDS and whether Ms. Drake is a

 “called party.”

       4.     No one knows when the FCC will complete its rulemaking. No one

 knows whether the rules, when enacted, will be challenged under the Hobbs Act,2

 just as the FCC’s 2015 Ruling was challenged. That challenge was not resolved for

 about three years, when the D.C. Circuit ruled in 2018, and the FCC went back to

 the drawing board. Further, if the defendants are right that the FCC’s rulemaking

 is imminent, then the parties and the court will be able to determine the effect of

 the new regulations on this case, with the benefit of discovery and the elucidation of

 the parties’ legal contentions based on actual evidence.

       5.     The plaintiff would be unfairly prejudiced if she is precluded from

 prosecuting her claims for some indefinite—possibly lengthy—period until the FCC

 adopts new rules. She has discovery needs now. She should be able to determine

 whether she is right about the type of equipment Mirand actually uses. She should

 be able to conduct other discovery that is proportional to the needs of this case.

       6.     The FDCPA claims are unaffected by the FCC’s rulemaking and there

 is no reason to stay prosecution of those claims.




 2      The Hobbs Act (also known as the Administrative Orders Review Act)
 “reserves to the courts of appeals the power ‘to enjoin, set aside, suspend (in whole
 or in part), or to determine the validity of’’ all final FCC orders.” See discussion of
 Hobbs Act in CE Design, Ltd. v. Prism Business Media, Inc., 606 F.3d 443, 446-49
 (7th Cir. 2010).


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                                    Conclusion

       For the foregoing reasons, the defendants’ motion to stay (Dkt. 32) is

 DENIED.

       So ORDERED.


       Dated: December 3, 2019             ____________________________________
                                              Debra McVicker Lynch
                                              United States Magistrate Judge
                                              Southern District of Indiana


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